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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    ---------------------------------------------------x
    IN RE:                                               §   Chapter 11
                                                         §
    FREELINC TECHNOLOGIES, INC., et                      §   Case No. 18-11254 (__)
    al.,                                                 §
                                                         §
                                 DEBTORS.1               §   (Joint Administration Pending)
                                                         §
    ---------------------------------------------------x

    FIRST DAY EMERGENCY MOTION OF THE DEBTORS FOR ENTRY OF INTERIM
    AND FINAL ORDERS (I) AUTHORIZING DEBTORS TO OBTAIN POST-PETITION
       FINANCING, (II) SCHEDULING A FINAL HEARING, AND (III) GRANTING
                           CERTAIN RELATED RELIEF

           FreeLinc Technologies, Inc. (“FreeLinc Inc.”) and FreeLinc Technologies, LLC

(“FreeLinc LLC”) (collectively, the “Debtors”), through their proposed counsel, hereby move

pursuant to sections 105, 361, 362, 363 and 364 of title 11 of the United States Code §§ 101-1532

(the “Bankruptcy Code”), Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”) for entry of an interim order,

substantially in the form attached hereto as Exhibit 1 (the “Interim Order”) and a final order (the

“Final Order,” and together with the Interim Order, the “DIP Orders”) (i) authorizing the Debtors

to obtain post-petition financing, (ii) scheduling a final hearing, and (iii) granting related relief. In

support of this motion, the Debtors rely on the Declaration of Michael Abrams in Support of

Chapter 11 Petition and First Day Pleadings (the “First Day Declaration”),2 and state as follows:


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: FreeLinc Technologies, Inc. (8250); and FreeLinc Technologies, LLC (4199). The location of the
Debtors’ service address is 266 Washington Street, Sherborn, MA 01771.

2
 Capitalized terms not herein defined shall have the meanings ascribed to them in the First Day
Declaration or the DIP Term Sheet (as defined herein).
{01327069;v1 }                                           1
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                                  JURISDICTION AND VENUE

          1.     The Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper in

this district pursuant to 28 U.S.C. §§ 1408 and 1409.

          2.     The statutory predicates for the relief sought herein are sections 105(a), 361, 362,

363 and 364 of title 11 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001 and 9014, and Local

Rule 4001-2. The Debtors confirm their consent, pursuant to Rule 7008 of the Bankruptcy Rules

and Rule 9013-1(f) of the Local Rules, to the entry of a final order by the Court in connection with

this motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

                                   GENERAL BACKGROUND

          3.     On the date hereof (the “Petition Date”), the Debtors filed their voluntary petitions

for relief under title 11 of the Bankruptcy Code (the “Bankruptcy Case”). The Debtors are

operating their business and managing their property as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. As of the date hereof, no party has requested the

appointment of a trustee or examiner in these Chapter 11 cases, and no committee has been

appointed under section 1102 of the Bankruptcy Code.

       4.        This Court has jurisdiction over these Chapter 11 cases pursuant to 28 U.S.C. §§

157 and 1334 and venue is properly in the United States Bankruptcy Court for the District of

Delaware pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.        No request for appointment of a Chapter 11 trustee or examiner has been made and,

as of the date hereof, no official committee has been appointed.



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Business Operations of FreeLinc Inc.

          6.     FreeLinc Inc. is a research and development company focused on the application

and adoption of Near Field Magnetic Induction (“NFMI”) as a new Wireless Personal Area

Networking (“WPAN”) standard for public safety, military, healthcare, consumer electronics, and

IoT markets.3 NFMI offers powerful new capabilities to existing WPAN technology, and provides

superior security, reliability, power-efficiency, and multipoint connectivity. FreeLinc Inc. holds

over 40 patents and operates primarily as a technology licensor. It partners with industry leaders

to develop products and applications to meet the needs of secure and reliable WPAN connections.

Ensuring that its customers receive high quality products and WPAN connections is of the utmost

importance for FreeLinc Inc.’s business operations.

          7.     FreeLinc Inc. is a Delaware corporation with headquarters located at 266

Washington Street, Sherborn, Massachusetts 01770. FreeLinc Inc.’s primary operations are

located at 829 S 220 E, Orem, Utah 84057.

          8.     FreeLinc Inc. has six (6) employees at this time. Four (4) of the employees are full-

time salaried, and two (2) are hourly employees. FreeLinc LLC has no employees.

          9.     As of the Petition Date, FreeLinc Inc. is owned by several shareholders. FreeLinc

LLC is the majority shareholder of FreeLinc Inc. FreeLinc LLC was formed in November of 2013.

FreeLinc Inc. was formed in April of 2014.

          10.    The Debtors’ primary assets are intellectual property and patents.

The Debtors’ Equity Security Holders




3
 The current standard is Bluetooth technology; however, the Debtors have established in the
marketplace that the NFMI technology is superior in quality and security to Bluetooth technology.
{01327069;v1 }                                     3
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          11.     In the three years prior to the Petition Date, FreeLinc Inc. averaged approximately

$200,000 per year in annual revenue. FreeLinc Inc. projects that during its first 12 months of

operations after exiting bankruptcy, its earnings before interest, taxes and amortization will be

approximately $562,380.00. The following year’s projection is $4,945,700.00. Each subsequent

year will also show substantial increases in revenue. These projections by FreeLinc Inc. are based

on capturing a conservative section of a very large market of WPAN devices and technology.

Furthermore, the United States Special Operations Command (“SOCOM”) has already committed

$2.35 million toward non-recurring engineering costs to research, design, develop, and test new

products or for product enhancement.4

          12.     In order to fund the research and development of NFMI, the Debtors entered into

Note Purchase Agreements (the “Notes”) with 49 total lenders (the “Lenders”)5 from the years

2013 through 2017 for a total amount of $12,531,854.00 including interest accrued as of March

31, 2018.

          13.     Both FreeLinc Inc. and FreeLinc LLC have entered into Notes with the Lenders.

As consideration for the amounts loaned by the Lenders under the Notes, each Note would have a

principal balance equal to the amount loaned and substantially all of the Notes are convertible into

“conversion shares” of FreeLinc Inc. As of this filing, the Debtors are in default on many of these

Notes or they have matured on their terms.

          14.     Some of the Notes include terms which purport to grant security interests in the

Debtors’ assets. However, as of the Petition Date, none of the security interests were perfected or

recorded in any way.




4
    Details regarding this new project are confidential at this time.
5
    Some of the Lenders hold multiple Notes.
{01327069;v1 }                                      4
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          15.    As of the Petition Date, there are approximately 200 equity holders in FreeLinc

Inc., who have invested money in return for shares of the corporation.

          16.    The Debtors also have outstanding operating debts totaling approximately $1.3

million.

          17.    The Debtors are current on their taxes and insurance.

Events Leading to the Chapter 11 Bankruptcy

          18.    The Debtors are currently operating and have several customers to whom they sell

their NFMI products. The Debtors no longer have the capital to continue operations and to continue

payments to Lenders. This could result in their inability to pay the Lenders if the Lenders seek to

enforce the terms of the Notes. As of the date of this Motion, no Lender has enforced its remedies

under the Notes.

          19.    As described below, the Debtors have obtained a commitment for debtor-in-

possession financing. Upon initiating the Chapter 11 proceedings, FreeLinc Inc. would be provided

with $600,000 to continue operating, licensing, and selling its NFMI technology. FreeLinc Inc.

has also negotiated a commitment for exit financing from the Chapter 11 proceedings pending the

confirmation of a plan of reorganization and the successful restructuring of FreeLinc Inc.’s

operations, as well as Court approval of the financing.

          20.    If the Debtors are unable to initiate chapter 11 proceedings, then the Debtors believe

that they will be unable to continue operations. If the Debtors are unable to continue operations,

the Lenders could initiate proceedings to collect on the defaulted Notes, which could ultimately

result in a forced sale of their assets at a depressed value for stakeholders. The Debtors believe that

their inability to continue operations, and a sale of their assets, is not in the best interest of their

creditors or Lenders.



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          21.       The Debtors seek to initiate the Bankruptcy Case in order to seek protection under

the Bankruptcy Code while FreeLinc Inc. continues its operations. The Debtors believe that

continuing operations of FreeLinc Inc. in the Bankruptcy Case and obtaining debtor-in-possession

financing will allow them to ultimately reorganize their business operations to become profitable

and continue their research and development endeavors.

                                           RELIEF REQUESTED

          22.       Through this Motion, the Debtors request that the Court enter the Order,

substantially in the form as attached hereto as Exhibit 1 (the “Interim Order”), seeking the

following relief:

                 a. Authorizing the Debtors to obtain to obtain a priming secured, post-petition super

                    priority financing (the “DIP Facility”) pursuant to the terms and conditions of the

                    certain commitment and related terms and conditions, dated as of May 24, 2018, by

                    and between the Debtors and Richard Propper (“Mr. Propper”), Thomas S. Bridges

                    Revocable Trust, (the “Bridges Trust”), Reid Scott Holbrook (“Mr. Holbrook”),

                    Dr. Michael Abrams (“Dr. Abrams”), Mark Wankel (“Mr. Wankel”), and SHKH

                    LLC (“SHKH”) (collectively, the “DIP Lender”), attached hereto as Exhibit 2 (the

                    “DIP Term Sheet”), and all agreements, documents, instruments and certificates

                    executed, delivered, filed or entered into in connection with the DIP Facility and

                    DIP Term Sheet (as amended, supplemented, restated or otherwise modified from

                    time to time in accordance with the terms thereof, collectively, the “DIP Loan

                    Documents”), providing for, inter alia, a new money secured loan in the total

                    amount of $600,000, (the “DIP Loan”). Mr. Propper, Thomas S. Bridges and Dr.

                    Abrams are directors of FreeLinc Inc. Dr. Abrams is also the managing member of



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                    FreeLinc LLC. Mr. Holbrook is a principal at the investment banking firm,

                    Mountain Summit Advisors, hired by the Debtors pre-petition to solicit capital.

                    SHKH’s principal, Stephen Hochschuler, and Mr. Wankel are equity owners and

                    noteholders of the Debtors.

                 b. Authorizing the Debtors to execute, enter into, and deliver to the DIP Lender all

                    documentation for the DIP Facility and any associated security documents in form

                    and substance satisfactory to the DIP Lender and to perform such other and further

                    acts as may be required in furtherance of the DIP Facility and the DIP Loan

                    Documents;

                 c. Authorizing the Debtors to use the proceeds of the DIP Loan to pay for the costs

                    related to continued operation of the Debtors’ business operations, the costs of

                    administration of the Chapter 11 cases and such other costs as expressly agreed to

                    by the DIP Lender, in accordance with the DIP Loan Documents and the Budget

                    (as defined below);

                 d. There are no parties entitled to adequate protection.

                 e. Granting the DIP Lender automatically perfected priming first-priority security

                    interests in, and liens on, all of the DIP Collateral (as defined below) to secure the

                    DIP Facility and all obligations owing and outstanding thereunder (collectively, the

                    “DIP Obligations”) which liens and security interests shall be subject only to

                    Permitted Liens (defined below) and the Carve-Out (defined below);

                 f. Granting allowed super priority administrative expense claims to the DIP Lender

                    for the DIP Obligations;




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                 g. Modifying the automatic stay imposed by section 362 of the Bankruptcy Code

                    solely to the extent necessary to provide the DIP Lender with the relief necessary

                    to implement and effectuate the terms and provisions of the DIP Loan Documents

                    and the Interim and Final Orders, as applicable;

                 h. Scheduling a hearing (the “Final Hearing”), pursuant to Bankruptcy Rule

                    4001(c)(2) and Local Rule 4001-2, to consider entry of the Final Order, inter alia¸

                    approving and authorizing the DIP Facility (including, without limitation, the

                    advance of the financing pursuant to the Interim Order) on a final basis.

                                          BASIS FOR RELIEF

          23.       As noted above, if the Debtors do not receive the DIP Facility then they will not be

able to continue their business operations. The Debtors have an immediate and critical need to

obtain post-petition financing in order to pursue their reorganization efforts. If the Debtors are

unable to continue operations, the Lenders could initiate proceedings to collect on both of the

Debtors’ defaulted Notes, which would likely result in a forced sale of assets at a depressed value.

This is not in the best interest of the Debtors’ creditors.

          24.       The Debtors are unable to obtain financing in the form of unsecured credit

allowable under section 503(b)(1) of the Bankruptcy Code, as an administrative expense under

section 364(a) or (b) of the Bankruptcy Code, or in exchange for the grant of an administrative

expense priority claim pursuant to section 364(a)(1) of the Bankruptcy Code, without the grant of

liens on assets.

          25.       The Debtors have been unable to obtain funding on terms that are more favorable

than offered by the DIP Lender.




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          26.    The DIP Lender has indicated a willingness to provide the Debtors with certain

financing, but only in compliance with the terms and conditions set forth in the Interim Order and

the Final Order. The Debtors have concluded, in an exercise of their sound business judgment,

that the financing to be provided by the DIP Lender represents the best financing presently

available to the Debtor. These funds will be used to continue the Debtors’ business operations,

licensing, and selling their NFMI technology. The DIP Facility would also cover the costs of

administration of these Chapter 11 cases, to pay such other costs expressly agreed to by the DIP

Lender in accordance with the DIP Loan, and otherwise fund the expenses of the business.

          27.    The Debtors have negotiated the DIP Facility in good faith with the DIP Lender.

The Debtors believe that the terms of the DIP Facility are fair and reasonable, reflect the Debtors’

exercise of prudent business judgment, and are supported by reasonably equivalent value and fair

consideration.

                 SUMMARY OF PRINCIPAL TERMS OF THE DIP FACILITY

          28.    The following is a summary of the terms of the DIP Facility:

Type and Amount:        The DIP Financing will be in the total amount of $600,000 (the “Maximum
                        Commitment”) and, upon entry of the Interim Order an amount not to
                        exceed $300,000 pending entry of a further order of the Court (the “Final
                        Order”), that shall be available to borrow in accordance with the terms and
                        conditions identified in the DIP Term Sheet (the “DIP Loan”).
Purpose:                The proceeds of the DIP Facility shall be used in accordance with an agreed
                        budget (the “Budget”) as between the Debtors and the DIP Lender upon
                        entry of the Interim Order by the Bankruptcy Court. Funds advanced
                        pursuant to the DIP Facility shall be used to fund operations of the Debtors,
                        costs of the administration of the Debtors bankruptcy cases, and for all
                        purposes set forth in the Budget.

Budget:                 The Debtors and the DIP Lender have agreed to the Budget attached as
                        Exhibit 3.

Reporting:              The Debtors shall report to the DIP Lender regarding their performance
                        compared to the Budget on a weekly basis or as agreeable to the parties.


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Priority:              As set forth in the DIP Term Sheet, the DIP Loan shall be:

                           1. Pursuant to section 364(c)(1) of the Bankruptcy Code, entitled to
                              superpriority administrative expense claim status in these Chapter
                              11 cases with priority over any and all administrative expense
                              claims, adequate protection claims, diminution claims, and all other
                              claims against the Debtors or their estates, whether heretofore or
                              hereafter incurred, of the kinds specified in sections 105, 326, 328,
                              330, 331, 364(c), 365, 503(a), 503(b), 506(c), 507(a), 507(b),
                              546(c), 546(d), 726, 1113 or 1114 of the Bankruptcy Code, payable
                              from all assets of the Debtors’ estates including, subject to entry of
                              a the Final Order, the proceeds of avoidance actions;

                           2. Pursuant to section 364(c)(2) of the Bankruptcy Code, secured by a
                              perfected first-priority security interest in and lien on the DIP
                              Collateral (as defined below) to the extent that such DIP Collateral
                              (as defined below) is not subject to valid, perfected and non-
                              avoidable liens as of the Petition Date;

                           3. Pursuant to section 364(d) of the Bankruptcy Code, secured by a
                              perfected first-priority security interest in and lien on all DIP
                              Collateral including, to the extent such DIP Collateral is subject to
                              prior, perfected liens, such liens shall be primed by the liens granted
                              to the DIP Lender (the “Priming DIP Lien”); and

                           4. The Priming DIP Lien shall not be subject to being treated pari
                              passu with or subordinated to any other liens or security interests
                              (whether currently existing or hereafter created), subject in each
                              case only to permitted exceptions to be expressly agreed upon in
                              writing by the DIP Lender in its discretion or imposed by applicable
                              non-bankruptcy law (collectively, the “Permitted Liens”).

Security:              As set forth in the DIP Term Sheet, the DIP Loan shall be secured by, among
                       other things, a first-priority lien on the DIP Collateral, subject to (a) valid,
                       enforceable and perfected security interests and liens existing as of the date
                       hereof (the “Pre-existing Liens”), and (b) the Carve-Out (as defined below).
                       The Debtors represent that as of the date hereof, there are no Pre-existing
                       Liens.

Perfection:            The DIP Liens shall be perfected by operation of the entry of the Interim
                       Order and Final Order effective as of the Petition Date, without the need of
                       the DIP Lender to file or record any statement, notice or other document or
                       instrument to provide notice of or to further perfect any such interest or lien.




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DIP Collateral:        “DIP Collateral” means, collectively, all of the assets (tangible, intangible,
                       real, personal or mixed) of the Debtors, whether now owned or hereafter
                       acquired, including, without limitation, accounts, inventory, equipment,
                       capital stock in subsidiaries (only up to 66% in foreign subsidiaries),
                       investment property, instruments, chattel paper, real estate, proceeds from
                       the sale or other disposition of any leasehold interests (but not the leaseholds
                       themselves), contracts, patents, copyrights, trademarks, causes of action
                       (excluding Avoidance Actions and proceeds thereof, provided, however,
                       upon entry of a Final Order, any superpriority administrative claim shall be
                       entitled to receive payment from and have recourse to the proceeds from
                       any Avoidance Actions), and other general intangibles, and all products and
                       proceeds thereof.

Interest:              The outstanding principal amount of the DIP Facility shall bear interest at
                       the rate of 1.75% per month. Interest will accrue on a monthly basis and
                       the Debtors shall pay the principal and interest for a minimum of six months
                       on the Maturity Date (defined below). As additional consideration, the
                       Debtors shall exercise their best efforts to provide warrants to the DIP
                       Lender on terms acceptable to the parties to a Plan of Reorganization.

Maturity Date:         The DIP Facility shall be due and payable on the earlier of (i) a Final Order
                       confirming a Chapter 11 Plan of Reorganization; (ii) entry of an order
                       converting the Debtors’ Chapter 11 cases to Chapter 7 cases; (iii)
                       occurrence of an Event of Default not cured within five (5) days; or (iv) the
                       six-month anniversary of the funding of the DIP Facility.

Optional               The Debtors may prepay the DIP Loan in whole or in part before maturity,
Prepayments:           however, a minimum of six months interest will be due to the DIP Lender
                       regardless of repayment date.

Conditions             The DIP Facility is conditioned on the following: (1) Entry of an Interim
Precedent:             Order and (2) Execution of the DIP Term Sheet.

Carve-Out:             Any and all liens, security interests and claims of the DIP Lender to be
                       granted or provided for pursuant to the terms hereof, shall be subject and
                       subordinate to a carve-out (the “Carve-Out”) for (a) the payment of all
                       allowed professional fees and disbursements incurred by the professionals
                       retained, pursuant to Bankruptcy Code §§ 327 or 1103(a), by the Debtors
                       from the Filing Date until the occurrence and continuation of an Event of
                       Default (as defined herein) (the “Pre-Default Carve-Out”) and until receipt
                       by the Debtors, their counsel, and the United States Trustee of a written
                       notice from DIP Lender identifying such Event of Default and terminating
                       the Pre-Default Carve-Out (a “Carve-Out Notice”); (b) the payment of
                       allowed professional fees and disbursements incurred by professionals
                       retained, pursuant to Bankruptcy Code §§ 327 or 1103(a), by the Debtors,
                       in an aggregate amount not to exceed $120,000.00 (the “Post-Default
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                         Carve-Out”) for services rendered after receipt by the Debtors, their
                         counsel, and the United States Trustee of a Carve-Out Notice; provided that
                         any payments actually made to such professionals for services rendered
                         following the occurrence and continuation of an Event of Default and after
                         receipt by the Debtors, their counsel, and the United States Trustee of a
                         Carve-Out Notice, shall reduce the Post-Default Carve-Out on a dollar-for-
                         dollar basis; and (c) quarterly fees required to be paid pursuant to 28 U.S.C.
                         § 1930(a)(6) plus interest at the statutory rate and any fees payable to the
                         Clerk of the Bankruptcy Court. So long as an Event of Default shall not
                         have occurred and be continuing and no Carve-Out Notice shall have been
                         given, the Debtors shall, to the extent provided in the Budget, be permitted
                         to pay fees, compensation and reimbursement of expenses allowed and
                         payable (including any such fees and expenses that are accrued but unpaid
                         and ultimately allowed) under Bankruptcy Code §§ 330, 331 and/or 503, as
                         the same may be due and payable, and the same shall be applied to the Pre-
                         Default Carve-Out but shall not reduce the Post-Default Carve-Out.
Adequate                 Adequate protection payments are not required.
Protection
Payments:

Right to                 Pursuant to section 363(k) of the Bankruptcy Code, to the extent
Credit Bid:              the Debtors pursue a sale of their assets during the course of these Chapter
                         11 cases, the DIP Lender is entitled to credit bid the full amount of the
                         outstanding DIP Obligations.

                                   APPLICABLE AUTHORITY

A.        The Debtors Should be Permitted to Obtain Post-Petition Financing Pursuant to
          Sections 364(c) and 364(d)(1) of the Bankruptcy Code.

          29.    Section 364(c) of the Bankruptcy Code requires a finding, made after notice and a

hearing, that the debtor seeking post-petition financing on a secured basis cannot “obtain

unsecured credit allowable under section 503(b)(1) of the [the Bankruptcy Code] as an

administrative expense.” 11 U.S.C. § 364(c). In addition, section 364(d)(1) of the Bankruptcy

Code, which governs the incurrence of post-petition debt secured by “priming” liens, provides that

the Court, after notice and a hearing, may:

          (d)(1) authorize the obtaining of credit or the incurring of debt secured by a senior
          or equal lien on property of the estate that is subject to a lien only if –
                  (A) the [debtor] is unable to obtain credit otherwise; and

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                    (B) there is adequate protection of the interest of the holder of the lien on
                    the property of the estate on which such senior or equal lien is proposed to
                    be granted.

11 U.S.C. § 364(d)(1).

          30.       In evaluating proposed post-petition financing under sections 364(c) and (d) of the

Bankruptcy Code, courts perform a qualitative analysis and generally consider similar factors,

including whether:

                 a. unencumbered credit or alternative financing without superpriority status is

                    available to the debtor;

                 b. the credit transactions are necessary to preserve assets of the estate;

                 c. the terms of the credit agreement are fair, reasonable, and adequate;

                 d. the proposed financing agreement was negotiated in good faith and entry thereto is

                    an exercise of sound and reasonable business judgment and in the best interest of

                    the debtor’s estate and its creditors; and

                 e. the proposed financing agreement adequately protects prepetition secured creditors.

See e.g. In re Aqua Assoc., 132 B.R. 192 (Bankr. E.D. Pa. 1991) (applying the first three factors

in making a determination under section 364(c)); In re Crouse Group, Inc., 71 B.R. 544 (Bankr.

E.D. Pa. 1987) (same); Bland v. Farmworker Creditors, 308 B.R. 109, 113-14 (S.D. Ga. 2003)

(applying all factors in making a determination under section 364(d)).

          31.       For the reasons discussed below, the Debtors satisfy the standards required to

access post-petition financing on a secured superpriority and priming lien basis under sections

364(c) and 364(d) of the Bankruptcy Code.

B.        The Debtors were Unable to Obtain Financing on More Favorable Terms.




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          32.    The Debtors solicited alternative financing proposals prior to the Petition Date.

However, the Debtors were unable to procure unsecured financing. The current proposal was on

the terms that were most beneficial to the estate. The Debtors believe their efforts to obtain post-

petition financing therefore satisfy the standard required under section 364(c) of the Bankruptcy

Code. See e.g. In re Los Angeles Dodges LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“The

Court ‘may not approve any credit transaction under subsection (c) [of Section 364] unless the

debtor demonstrates that it has attempted, but failed, to obtain unsecured credit under section

364(a) or (b).’”); In re Simasko Production Co., 47 B.R. 444, 448-49 (D. Colo. 1985) (authorizing

interim financing stipulation where debtor’s best business judgment indicated financing was

necessary and reasonable for benefit of estates); In re Ames Dept. Stores, 115 B.R. 34, 38 (Bankr.

S.D.N.Y. 1990) (with respect to post-petition credit, courts “permit debtors in possession to

exercise their basic business judgment consistent with their fiduciary duties”); In re Sky Valley,

Inc., 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988) (where few lenders can or will extend the necessary

credit to a debtor, “it would be unrealistic and unnecessary to require [the debtor] to conduct such

an exhaustive search for financing”).

          33.     Additionally, given the severity of the repercussions if the Debtors do not obtain

financing - the value of the Debtors’ business will continue to diminish and they will not be able

to cover their operating expenses, including payroll - the Debtors do not have an unlimited amount

of time to find more favorable terms. See e.g. In re Snowshoe Co., 789 F.2d 1085, 1088 (4th Cir.

1986) (stating that section 364(d) of the Bankruptcy Code “imposes no duty to seek credit from

every possible lender, particularly when time is of the essence to preserve a vulnerable seasonal

enterprise”).

C.        The DIP Facility is Necessary to Preserve the Assets of the Debtors’ Estates.



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          34.    As the debtor-in-possession, the Debtors have a fiduciary duty to protect and

maximize the assets of their estates. See In re Mushroom Transp. Co., 382 F.3d 325, 339 (3d Cir.

2004). The DIP Facility allows the Debtors to satisfy such obligation. As noted supra, the Debtors

need financing and were forced into these Chapter 11 cases as a result their depleting capital and

lending resources. Without the agreement of the DIP Lender to provide the Debtors with

financing, the Debtors would be forced to cease business operations. This would certainly cause

immediate harm to the Debtors, the Lenders, and the Debtors’ creditors, as well as to those

companies and entities that are in the process of entering into licensing agreements and purchasing

the Debtors’ products.

D.        The Terms of the DIP Facility are Fair, Reasonable and Appropriate Given the
          Circumstances.

          35.    In considering whether the terms of post-petition financing are fair and reasonable,

courts consider the terms in light of the relative circumstances of both the debtor and the potential

lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); See also In re

Ellingsen MacLean Oil Co., 65 B.R. 385, 365 (W.D. Mich. 1986) (a debtor may have to enter into

hard bargains to acquire funds).

          36.    The DIP Facility was negotiated in good faith between the Debtors and the DIP

Lender. These negotiations resulted in an agreement which will allow the Debtors to continue

their operations and successfully reorganize.

E.        Entry into the DIP Facility Reflects the Debtors’ Sound Business Judgment.

          37.    A debtor’s decision to enter into a post-petition financing arrangement under

section 364 of the Bankruptcy Code is governed by the business judgment standard. See e.g. In re

Los Angeles Dodgers LLC, 457 B.R. at 313; In re Ames Dep’t Stores, Inc., 115 B.R. 34, 38 (Bankr.




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S.D.N.Y. 1990) (financing decisions under section 364 of the Bankruptcy Code must reflect a

debtor’s business judgment).

          38.    Bankruptcy courts generally will defer to a debtor-in-possession’s business

judgment regarding the need for and the proposed use of funds, unless such decision is arbitrary

and capricious. In re Curlew Valley Assocs., 14 B.R. 506, 511-13. (Bankr. D. Utah 1981). The

court will generally not second-guess a debtor-in-possession’s business decisions involving a

“business judgment made in good faith, upon a reasonable basis, and within the scope of [its]

authority under the [Bankruptcy] Code.” Id. at 513-14.

          39.    As noted above, the Debtors have exercised sound business judgment in

determining that the DIP Facility does satisfy the legal prerequisites to incur debt under section

364 of the Bankruptcy Code.       As definitively set forth in the DIP Term Sheet and DIP Loan

Documents, the Debtors believe the DIP Facility provides the best terms that are available under

the circumstances.

          40.    The DIP Loan is essential to enable the Debtors to avoid irreparable harm to the

Debtors’ business operations, assets, the Lenders and their creditors.

          41.    Therefore, pursuant to sections 364(c) and (d)(1) of the Bankruptcy Code, the

Debtors respectfully submits that they should be granted authority to enter the DIP Facility and

obtain the DIP Loan on the secured and administrative superpriority basis described herein.

F.        Interim Approval of the DIP Loan Should be Granted.

          42.    It is essential that the Debtors immediately receive financing to continue their

business operations and stabilize cash flow, which will permit the Debtors to formalize a plan to

reorganize and continue their business operations.     Therefore, the Debtors are seeking interim

approval to access the funds under the DIP Loan to meet their working capital needs, including



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purchasing inventory, paying FreeLinc Inc.’s employees and continuing negotiations with

SOCOM.

          43.    The Debtors submit that this Court should grant the Debtors’ request for immediate

authority to use the DIP Facility to prevent immediate and irreparable harm to the Debtors’ estates

and stakeholders pending a final hearing on the motion pursuant to Bankruptcy Rule 4001(c). The

ability of the Debtors to finance their operations and the availability of sufficient capital through

the DIP Facility is vital to the preservation of the Debtors’ estates and business. The Debtors,

therefore, seek authority to obtain DIP Facility.

          44.    Bankruptcy Rule 4001(c)(2) governs the procedures for obtaining authorization to

obtain post-petition financing and provides, in relevant part:

                 The court may commence a final hearing on a motion for authority
                 to obtain credit no earlier than 14 days after service of the motion.
                 If the motion so requests, the court may conduct a hearing before
                 such 14-day period expires, but the court may authorize the
                 obtaining of credit only to the extent necessary to avoid immediate
                 and irreparable harm to the estate pending a final hearing.

          45.    In examining requests for interim relief under this rule, courts apply the same

business judgment standard to other business decisions. See e.g. Ames Dep’t Stores, 115 B.R. at

36; Simasko, 47 B.R. at 449. Under this standard, the Debtors’ request for entry of the DIP Orders,

in the time periods and for the financing amounts requested herein, is appropriate.

          46.    The Debtors believe that, under the circumstances, the terms and conditions set

forth herein are fair and reasonable for the approval of the DIP Facility.

                              REQUEST FOR A FINAL HEARING

          47.    Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors request that

the Court set a date for the Final Hearing that is as soon as practicable, in no event later than




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fourteen days following the entry of the Interim Order, and fix the time and date prior to the Final

Hearing for parties to file objections to the motion.

                   WAIVER OF BANKRUPTCY RULE 6004(a) AND 6004(h)

          48.    To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay of an order authorizing the

use, sale, or lease of property under Bankruptcy Rule 6004(h).

                                               NOTICE

          49.    The Debtors will provide notice of this Motion to: (a) the Office of the United States

Trustee for the District of Delaware; (b) the holders of the 20 largest unsecured claims against the

Debtors; (c) counsel to the DIP Lender; (d) any party that has requested notice pursuant to

Bankruptcy Rule 2002; and (e) any such other party entitled to notice pursuant to Rule 9013-1(m)

of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware. As this Motion is seeking “first day” relief, within two business days

of the hearing on this Motion, the Debtors will serve copies of this Motion and any order entered

in respect to this Motion as required by Local Rule 9013-1(m). The Debtors submit that, in light

of the nature of the relief requested, no other or further notice need be given.

                                       NO PRIOR REQUEST

          50.    No prior request for the relief sought in this Motion has been made to this Court or

any other Court.

                                           CONCLUSION

          WHEREFORE, the Debtors request that this Court enter an Interim Order substantially in

the form attached hereto as Exhibit 1 and grant such other and further relief as the Court may

deem proper.



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Dated: May 24, 2018                               Respectfully submitted by:
       Wilmington, Delaware

                                                  ASHBY & GEDDES, P.A.

                                                  /s/ William P. Bowden
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                                                  -and-

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                                                  Proposed Attorneys for Debtors and
                                                  Debtors-in-Possession




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    ---------------------------------------------------x
    IN RE:                                               §    Chapter 11
                                                         §
    FREELINC TECHNOLOGIES, INC., et                      §    Case No. 18-11254 (__)
    al.,                                                 §
                                                         §
                                               1
                                 DEBTORS.                §    (Joint Administration Pending)
                                                         §
    ---------------------------------------------------x

                  INTERIM ORDER (I) AUTHORIZING DEBTORS TO OBTAIN
                   POST-PETITION FINANCING, (II) SCHEDULING A FINAL
                     HEARING, AND (III) GRANTING RELATED RELIEF

           This matter coming before the Court on the Debtor’s First Date Emergency Motion for

Entry of Interim and Final Orders (I) Authorizing Debtors to Obtain Post-Petition Financing,

(II) Scheduling a Final Hearing, and (III) Granting Certain Related Relief (the “Motion”),2 filed

by the above-captioned debtors and debtors-in-possession (FreeLinc Technologies, Inc. and with

FreeLinc Technologies, LLC, collectively, the “Debtors”) seeking, pursuant to sections 105,

361, 362, 363, and 364 of title 11 of the United States Code (as amended, the “Bankruptcy

Code”), Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and the Local Bankruptcy Rules for the District of Delaware (the “Local

Rules”), the entry of interim and final orders, which, among other things:

       (i)    authorize the Debtors to obtain a priming secured, post-petition super priority
financing (the “DIP Facility”) pursuant to the terms and conditions of this Interim Order and that

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: FreeLinc Technologies, Inc. (8250); and FreeLinc Technologies, LLC (4199). The location of the
Debtors’ service address is 266 Washington Street, Sherborn, MA 01771.


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  Capitalized terms not otherwise defined in this Interim Order shall have the meanings given to them in the Motion
or the DIP Term Sheet, as applicable.



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certain commitment and related terms and conditions, dated as of May 23, 2018, by and between
the Debtors and Richard Propper (“Mr. Propper”), Thomas S. Bridges Revocable Trust, (the
“Bridges Trust”), Reid Scott Holbrook (“Mr. Holbrook”), Dr. Michael Abrams (“Dr. Abrams”),
Mark Wankel (“Mr. Wankel”), and SHKH LLC (“SHKH”) (collectively, the “DIP Lender”),
attached to the Motion as Exhibit 2 (the “DIP Term Sheet”), and all agreements, documents,
instruments and certificates executed, delivered, filed or entered into in connection with the DIP
Facility and DIP Term Sheet (as amended, supplemented, restated or otherwise modified from
time to time in accordance with the terms thereof, collectively, the “DIP Loan Documents”),
providing for, inter alia, a new money secured loan in the total amount of $600,000.00 (the “DIP
Loan”);

        (ii) authorize the Debtors to execute, enter into and deliver to the DIP Lender all
documentation for the DIP Facility and any associated security documents in form and substance
satisfactory to the DIP Lender and to perform such other and further acts as may be required in
furtherance of the DIP Facility and the DIP Loan Documents;

        (iii) authorize the Debtors to use the proceeds of the DIP Loan to pay for the costs related
to the Debtor’s business operations, the costs of administration of the Chapter 11 case and such
other costs as expressly agreed to by the DIP Lender, in accordance with the DIP Loan Documents
and the budget (the “Budget”, a copy of which is attached to the Motion as Exhibit 3, with such
term including any subsequent Budget approved by the DIP Lender after entry of this Interim
Order);

        (iv) grant the DIP Lender automatically perfected priming first-priority security interests
in and liens on all of the DIP Collateral (as defined below) to secure the DIP Facility and all
obligations owing and outstanding thereunder (collectively, the “DIP Obligations”), subject only
to (a) any permitted liens, and to any valid, perfected, unavoidable liens or security interests in
existence as of the Petition Date (“Pre-existing Liens”), or that are perfected subsequent to the
Petition Date as permitted by section 546(b) of the Bankruptcy Code, and (b) the Carve-Out (as
defined below).

        (v)    modify the automatic stay imposed by section 362 of the Bankruptcy Code solely to
the extent necessary to provide the DIP Lender with the relief necessary to implement and
effectuate the terms and provisions of the DIP Loan Documents and this Interim Order;

        (vi) schedule a final hearing (the “Final Hearing”), pursuant to Bankruptcy Rule 4001
and Local Rule 4001-2, to consider entry of a final order (the “Final Order”) authorizing the DIP
Loan and granting any requested relief not granted under any interim order on a final basis, all as
set forth in the Motion;

and the Court having considered the Motion, the Declaration of Michael Abrams in Support of

Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), the exhibits attached

to the Motion, and any evidence submitted at the Interim Hearing held before this Court; and due

and appropriate notice of the Motion, the relief requested therein and the Interim Hearing having


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been given in accordance with Bankruptcy Rules 2002, 4001 and 9014; and all objections, if any,

to the interim relief requested in the Motion having been withdrawn, resolved or overruled by the

Court; and the relief requested being fair and reasonable and in the best interests of the Debtors,

their estates, the Lenders, their creditors, and essential for the Debtors’ reorganization efforts and

the continued operation of the Debtor’s business through the period covered by the current

Approved Budget (or any subsequent Approved Budget); and it further appearing that the Debtors

are unable to obtain unsecured credit for money borrowed allowable as an administrative expense

under section 503(b)(1) of the Bankruptcy Code or to obtain credit secured solely by the Debtors’

unencumbered assets or by junior liens on previously-encumbered assets; and upon the record

before the Court with respect to the Motion; and after due deliberation and consideration, and for

good and sufficient cause appearing therefor;

         Based upon the record established at the interim hearing, IT IS HEREBY FOUND,

DETERMINED, ORDERED AND ADJUDGED, that:

         1.      Financing Approved. The Motion is granted as set forth herein in accordance with

the terms of this Interim Order. On an interim basis, in order to avoid immediate and irreparable

harm to the Debtors’ estates, the Debtors are authorized to immediately obtain the funds from the

DIP Loan in the amount of $300,000 from the DIP Lender pursuant to the terms and conditions

set forth in the executed DIP Loan Documents and this Interim Order. All objections to the

Motion, to the extent not withdrawn or resolved, and all reservations of rights included therein, are

hereby overruled. The rights of all parties in interest to object to the entry of a Final Order are

reserved.




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         2.      Jurisdiction. This Court has core jurisdiction over these Chapter 11 cases, the

Motion, and the persons and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334.

Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.      Notice. The notice given by the Debtors of the Motion, the Interim Hearing, and

the proposed Interim Order constitutes appropriate, due and sufficient notice thereof and complies

with the Bankruptcy Rules and Local Rules, and no further notice of the relief sought at the Interim

Hearing and the relief granted herein is necessary or required.

         4.      Findings Regarding the DIP Financing.

         (a)     Cause. Good cause has been shown for entry of this Interim Order.

         (b)     Need for DIP Financing. Without the financing proposed by the Motion, the

Debtors will not be able to continue their business operations, nor pursue reorganization efforts.

The access of the Debtors to the DIP Financing is vital for preserving and maximizing the value

of the Debtors’ estates for the benefit of their Lenders and creditors. Failure to obtain the relief

requested in the Motion and as provided in this Interim Order will result in immediate and

irreparable harm to the Debtors, their estates, and creditors.

         (c)     No Credit Available on More Favorable Terms. The Debtors are unable to obtain

financing on terms more favorable than those offered by the DIP Lender under the DIP Financing.

The Debtors are unable to obtain unsecured credit allowable under section 503(b)(1) of the

Bankruptcy Code as an administrative expense. The Debtors are also unable to obtain secured

credit under sections 364(c) or 364(d) of the Bankruptcy Code on equal or more favorable terms

than those offered by the DIP Lender under the DIP Financing. The Debtors have made an

adequate showing of their efforts to obtain financing on more favorable terms for the purposes of

the relief granted herein. A credit facility in the amount and on the terms provided by the DIP




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Facility is not available from the DIP Lender without the Debtors granting to the DIP Lender (i) the

DIP Liens (as defined herein) and the DIP Superpriority Claims (as defined herein), and (ii) the

other protections set forth in this Interim Order.

         (d)     Business Judgment and Good Faith Pursuant to Section 364(e). The terms and

conditions of the DIP Facility and the DIP Loan Documents are fair, reasonable, and the best

available to the Debtors under the circumstances, reflect the exercise of prudent business judgment

by the Debtors consistent with their fiduciary duties, and are supported by reasonably equivalent

value and consideration. The DIP Facility was negotiated without collusion, in good faith and at

arms’ length between the Debtors and the DIP Lender. Use of credit to be extended under the DIP

Facility shall be deemed to have been so allowed, advanced, made, used or extended in good faith,

within the meaning of section 364(e) of the Bankruptcy Code and in express reliance on the

protections offered by section 364(e) of the Bankruptcy Code, and the DIP Lender is therefore

entitled to the full protections and benefits of section 364(e) of the Bankruptcy Code in the event

that this Interim Order or any provision hereof is vacated, reversed, or modified, on appeal or

otherwise.

         (e)     Interim Relief. Absent the relief provided by this Interim Order, the Debtors, their

estates, and their creditors will be harmed.

         5.      Authorization of the DIP Facility and DIP Facility Terms. The Debtors are

expressly and immediately authorized to incur and to perform the DIP Obligations in accordance

with, and subject to, the terms of this Interim Order and the DIP Loan Documents.

         6.      Interest Rate. The Debtors are authorized to incur interest on the DIP Facility at a

rate of 1.75% per month as set forth in the DIP Loan Documents. Interest will accrue on a monthly

basis and the Debtors shall pay the principal and interest for a minimum of six months on the




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Maturity Date (defined below). As additional consideration, the Debtors shall exercise their best

efforts to provide warrants to the DIP Lender on terms acceptable to the parties to a Plan of

Reorganization.

         7.      DIP Lender Fees and Expenses. The Debtors are required to reimburse the DIP

Lender for all reasonable costs and expense, including legal fees in connection with the

negotiation, documentation and delivery of the DIP Facility, not to exceed $7,500.00 (collectively,

the “DIP Lender Expenses”).

         8.      Purpose of the DIP Financing. From and after the Petition Date, the Debtors shall

use the funds from the DIP Facility only for the purposes specifically set forth in this Interim Order

and the other DIP Loan Documents, and in compliance with the Budget.

         9.      Superpriority Claims.     Pursuant to Sections 364(c)(1), (c)(2) and (d) of the

Bankruptcy Code, all amounts owing by the Debtors pursuant to the DIP Facility at all times will

constitute allowed superprority administrative claims (the “DIP Superpriority Claims”) with

priority over any and all administrative expense claims, adequate protection claims, diminution

claims, and all other claims against the Debtors or their estates in these Chapter 11 cases and, as

detailed below, will be secured by all assets of the Debtors, whether existing as of the Petition Date

or thereafter acquired (excluding avoidance actions under Chapter 5 of the Bankruptcy Code

(“Avoidance Actions”) and proceeds thereof, provided however, upon entry of a Final Order, any

DIP Superpriority Claim shall be entitled to receive payment from and have recourse to the

proceeds from any Avoidance Action, subject only to (a) valid, enforceable and perfected security

interests and liens existing as of the Petition Date, if any, and (b) the Carve-Out (as defined below).

         10.     Security. As detailed herein, all amounts and other obligations owing by the

Debtors under the DIP Facility in respect thereof at all times will be secured by all of the assets




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(tangible, intangible, real, personal or mixed) of the Debtors, whether now owned or hereafter

acquired, including, without limitation, accounts, inventory, equipment, capital stock in

subsidiaries (only up to 66% in foreign subsidiaries), investment property, instruments, chattel

paper, real estate, proceeds from the sale or other disposition of any leasehold interests (but not

the leaseholds themselves), contracts, patents, copyrights, trademarks, causes of action (excluding

Avoidance Actions and proceeds thereof, provided, however, upon entry of a Final Order, any DIP

Superpriority Claim shall be entitled to receive payment from and have recourse to the proceeds

from any Avoidance Actions), and other general intangibles, and all products and proceeds thereof

(collectively, “DIP Collateral”). The liens on the DIP Collateral shall constitute: (i) under Section

364(c)(2) of the Bankruptcy Code, valid, enforceable and perfected first priority security interests

and liens in favor of the DIP Lender in all unencumbered assets of the Debtors and (ii) under

Section 364(d) of the Bankruptcy Code, valid, enforceable and perfected first priority, priming

security interest and lien in favor of the DIP Lender with priority over any lien asserted by any

other party (the security interests and liens described in clauses (i) and (ii) the “DIP Liens”); and

(iii) all obligations under the DIP Facility shall constitute DIP Superpriority Claims with priority

under Section 364(c)(1) of the Bankruptcy Code over all other administrative expense claims in

the Chapter 11 Cases and payable from the proceeds of all property of the Debtors’ property and

the proceeds thereof, including, without limitation, upon entry of a Final Order, proceeds of

Avoidance Actions. The DIP Liens and DIP Superpriority Claims shall be subject only to: (i) Pre-

existing Liens, if any, and (ii) the Carve-Out (as defined below). The DIP Liens granted to the

DIP Lender pursuant to the Interim Order and the Final Order, to secure the obligations under the

DIP Facility shall not be subordinated to, or made pari passu with, any other lien or security

interest under Section 364(d) of the Bankruptcy Code, and shall not be subject or subordinate to




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any lien or security interest that is avoided and preserved for the benefit of the Debtors’ estates

under Section 551 of the Bankruptcy Code; rather the provisions of Section 551 of the Bankruptcy

Code shall not apply and any such avoided lien shall be deemed to have not existed as of the

Petition Date with the DIP Liens in favor of the DIP Lender attaching to such DIP Collateral with

priority over or in the stead of such avoided liens.

         11.     Perfection of DIP Liens. The DIP Liens shall be perfected by operation of the entry

of the Interim Order and Final Order effective as of the Petition Date, without the need of the DIP

Lender to file or record any statement, notice or other document or instrument to provide notice of

or to further perfect any such interest or lien.

         12.     Carve-Out; Payment of Retained Professionals. Any and all liens, security interests

and claims of the DIP Lender to be granted or provided for pursuant to the terms hereof, shall be

subject and subordinate to a carve-out (the “Carve-Out”) for (a) the payment of all allowed

professional fees and disbursements incurred by the professionals retained, pursuant to Bankruptcy

Code Sections 327 or 1103(a), by the Debtors from the Petition Date until the occurrence and

continuation of an Event of Default (as defined herein) (the “Pre-Default Carve-Out”) and until

receipt by the Debtors, their counsel, and the United States Trustee of a written notice from DIP

Lender identifying such Event of Default and terminating the Pre-Default Carve-Out (a “Carve-

Out Notice”); (b) the payment of allowed professional fees and disbursements incurred by

professionals retained, pursuant to Sections 327 or 1103(a) of the Bankruptcy Code, by the Debtors

in an aggregate amount not to exceed $120,000.00 (the “Post-Default Carve-Out”) for services

rendered after receipt by the Debtors, their counsel, and the United States Trustee of a Carve-Out

Notice; provided that any payments actually made to such professionals for services rendered

following the occurrence and continuation of an Event of Default and after receipt by the Debtors,



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their counsel, and the United States Trustee of a Carve-Out Notice, shall reduce the Post-Default

Carve-Out on a dollar-for-dollar basis; and (c) statutory fees payable to the United States Trustee

pursuant to 28 U.S.C. § 1930(a)(6) (as determined by agreement of the United States Trustee or

by final order of the Court), together with the statutory rate of interest, and any fees payable to the

Clerk of the Bankruptcy Court. So long as an Event of Default shall not have occurred and be

continuing and no Carve-Out Notice shall have been given, the Debtors shall, to the extent

provided in the Budget, be permitted to pay fees, compensation and reimbursement of expenses

allowed and payable (including any such fees and expenses that are accrued but unpaid and

ultimately allowed) under Sections 330, 331 and/or 503 of the Bankruptcy Code, as the same may

be due and payable, and the same shall be applied to the Pre-Default Carve-Out but shall not reduce

the Post-Default Carve-Out.

         13.     Reporting. The Debtors shall report to the DIP Lender regarding their performance

compared to the Budget on a weekly basis or as agreeable to the parties.

         14.     Events of Default. The occurrence of any of the following shall constitute an

“Event of Default” under the Interim Order or a Final Order approving the DIP Facility:

                 (a)    Failure to make payments when due hereunder or under the Interim Order

                        or Final Order.

                 (b)    Any material breach of any representation or warranty hereunder.

                 (c)    Failure of the Bankruptcy Court to enter the Final Order by June 30, 2018.

                 (d)    Dismissal of any material portion of the Chapter 11 Cases with respect to

                        any of the Debtors or conversion of any of such case to a Chapter 7 case.

                 (e)    Appointment of a Chapter 11 trustee or examiner or other person with

                        expanded powers.


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                 (f)   The granting of relief from the automatic stay to any third party to permit

                       foreclosure on material assets of the Debtors.

                 (g)   Reversal, vacation or stay of the effectiveness of any of the Interim Order

                       or the Final Order.

                 (h)   Any order entered transferring venue of the Chapter 11 Cases or any of

                       them.

                 (i)   Cessation of DIP Liens or DIP Superpriority Claims granted with respect to

                       the DIP Facility to be valid, perfected and enforceable in all respects with

                       the priority status required herein.

                 (j)   Failure by the Debtors to perform or comply in any material respect with

                       any term, condition, covenant or obligation contained herein, on their part

                       to be performed or complied with where any such failure to perform or

                       comply is not remedied within five (5) business days following written

                       notice of the default.

                 (k)   Except as set forth herein, the entry of any order of the Bankruptcy Court

                       granting a superpriority claim or lien pari passu with or senior to that

                       granted to the DIP Lenders hereunder.

                 (l)   The Debtors becomes unable or admits in writing its inability or fails

                       generally to pay its post-petition debts as they become due, or any writ or

                       warrant of attachment or execution or similar process is issued or levied

                       against all or any material part of the property of any such person and is not

                       released, vacated or fully bonded within thirty days after its issue or levy.



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         15.     Remedies. Subject to the Debtors’ ability to cure within five (5) days following

written notice, if any Event of Default occurs and is continuing, the DIP Lender may take any or

all of the following actions:

                 (a)    declare the commitment of DIP Lender to make DIP Loans to be terminated,

                        whereupon such commitments shall be terminated;

                 (b)    declare the unpaid principal amount of all outstanding DIP Loans, all

                        interest accrued and unpaid thereon, and all other amounts owing or payable

                        hereunder or under any other DIP Loan Documents to be immediately due

                        and payable, without presentment, demand, protest or other notice of any

                        kind, all of which are hereby expressly waived by the Debtors; and

                 (c)    exercise all rights and remedies available to it and the Lenders hereunder.

         16.     Right to Credit Bid; Distribution of Proceeds.

         (a)     In the event of a sale during these Chapter 11 cases, the rights of the DIP Lender to

credit bid (whether under section 363(k) of the Bankruptcy Code or otherwise), to the extent of

the full amount of the outstanding DIP Obligations, shall not be impaired. For the avoidance of

doubt, the DIP Lender shall have the unfettered right to credit bid.

         (b)     The DIP Lender shall be entitled to exercise or submit its credit bid at any time

prior to the conclusion of any auction contemplated in any bidding procedures proposed in these

Chapter 11 cases. The DIP Obligations and the DIP Liens shall, for the avoidance of doubt, be

deemed to exist and to be valid, properly perfected, unavoidable and not subject to subordination,

dispute, voidance, avoidance or other challenge for purposes of submitting such a credit bid and

obtaining a distribution of the proceeds of any such sale.




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         17.     Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification or Stay

of this Interim Order. The terms and conditions of the DIP Loan and the DIP Loan Documents are

fair, reasonable, and the best available to the Debtors under the circumstances, reflect the exercise

of prudent business judgment by the Debtors consistent with their fiduciary duties, and are

supported by reasonably equivalent value and consideration. The DIP Facility was negotiated

without collusion, in good faith between the Debtors and the DIP Lender.

         18.     Challenge Period. Subject only to the terms of this paragraph 18, the terms set forth

in this Interim Order shall be without prejudice to the rights of any Committee or party in interest

with appropriate standing to seek to disallow any alleged secured prepetition claim, pursue any

claims or seek appropriate remedies against any alleged secured prepetition secured party or avoid

all or substantially all of any prepetition security interests or liens on the Debtors’ assets, including

any claim, action, or proceeding brought against any alleged secured prepetition party that requires

such party to disgorge any adequate protection interest payments received or accruals credited, or

to disgorge as repaid pursuant to this Interim Order as a result of any prepetition secured parties'

claims against the Debtors or any liens upon and security interests in the assets and properties of

Debtors being invalidated, avoided, subordinated, impaired, or compromised in any way, either by

an order of this Court (or other court of competent jurisdiction) or by settlement. Any party (other

than the Debtors, which have waived all such rights), including any Committee, must commence,

as appropriate, a contested matter or adversary proceeding raising any objection, claim, defense,

suit or other challenge (a "Challenge") with respect to any claim, security interest, or any other

rights of any prepetition secured party, including in the nature of a setoff, counterclaim, or defense

on or before (i) with respect to any Committee, the earlier of (a) sixty (60) calendar days from the

date the U.S. Trustee appoints such Committee or (b) seventy-five (75) calendar days following




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the entry of the Interim Order, or (ii) with respect to all other parties, seventy-five (75) calendar

days following the entry of the Interim Order (the "Challenge Period"). Upon the expiration of

the Challenge Period, to the extent not specifically included in a timely and properly filed pleading

asserting a Challenge; (i) any other possible Challenge, whether such Challenge is separately filed

or otherwise asserted through an amendment of any timely and properly filed pleading asserting a

Challenge, shall be deemed to be forever waived and barred. Nothing in this Interim Order vests

or confers on any person, including any Committee or any other statutory committee that may be

appointed in these Chapter 11 Cases, standing or authority to pursue any cause of action, claim,

defense, or other right belonging to the Debtors or their estates. For the avoidance of doubt, entry

of this Interim Order shall not grant standing or authority to any Committee to pursue any cause

of action, claim, defense, or other right on behalf of the Debtors or their estates.

         19.     Modification of Automatic Stay. The automatic stay imposed under Section 362(a)

of the Bankruptcy Code is hereby modified solely to the extent necessary to authorize the Debtors

and DIP Lender to take any action necessary to implement and effectuate the terms and provisions

of this Interim Order and the DIP Loan Documents.

         20.     Binding Effect of Interim Order. Immediately upon execution by this Court,

subject to the Final Order, the terms and provisions of this Interim Order shall become valid and

binding upon and inure to the benefit of the Debtors, the DIP Lender, all other creditors of the

Debtors, and all other parties in interest and their respective successors and assigns, including any

trustee or other fiduciary hereafter appointed in these Chapter 11 cases, or upon dismissal of the

Bankruptcy Case.

         21.     Amendments. The Debtors and the DIP Lender may enter into amendments or

modifications of the DIP Loan Documents or the Approved Budget without further notice and




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hearing or order of this Court. The Debtors and the DIP Lender shall provide notice to counsel to

any official committee and the Office of the United States Trustee of any modifications or

amendments that do not materially and adversely affect the rights of any creditor or other party-

in-interest. Any proposed modification or amendment that would materially and adversely affect

the rights of any creditor or other party-in-interest shall be filed on the Court’s docket and any

official committee, the U.S. Trustee and other parties-in-interest shall have three (3) days from the

date of filing of such material modification or amendment to object in writing to such amendment

and, if no objections are received, such modification or amendment shall be deemed effective. If

an objection is received, then the modification or amendment shall be subject to further order of

this Court.

         22.     Bankruptcy Rule 7052. This Interim Order shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052.

         23.     Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce this

Interim Order according to its terms.

         24.     Final Hearing. The Final Hearing shall be held on June __, 2018 at __:__ _.m.

Objections to entry of the Final Order shall be filed and served, so as to be received by counsel to

the Debtor, counsel to any official committee, the DIP Lender, and the United States Trustee on

or before June __, 2018 at __:__ _.m.


                                                       ____________________________________
                                                       United States Bankruptcy Judge




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                     EXHIBIT 3
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                                                                                 FREELINC TECHNOLOGIES INC CASH PROJECTION
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                                                     Week 1          Week 2          Week 3          Week 4          Week 5          Week 6              Week 7          Week 8          Week 9       Week 10    Week 11      Week 12      Week 13
                                                                                                                                                                                                                                                        TOTAL
                                                    5/28/2018       6/4/2018        6/11/2018       6/18/2018       6/25/2018       7/2/2018            7/9/2018        7/16/2018       7/23/2018    7/30/2018   8/6/2018    8/13/2018    8/20/2018

                      BEGINNING CASH BALANCE $           8,893 $       (43,337) $     (221,337) $     (239,292) $     (278,772) $      (312,839) $        (363,673) $     (378,943) $     (418,423) $ (430,768) $ (493,800) $ (478,871) $ (526,351)
REVENUE                                                  1,000           1,000           1,000           1,000           1,000            1,000              1,000           1,000           1,000       1,000      24,999       1,000       1,000        36,999
EXPENSES                                                53,230         179,000          18,955          40,480          35,067           51,834             16,270          40,480          13,345      64,032      10,070      48,480      11,300       582,543
                                   NET EXPENSES $      (43,337) $     (221,337) $     (239,292) $     (278,772) $     (312,839) $      (363,673) $        (378,943) $     (418,423) $     (430,768) $ (493,800) $ (478,871) $ (526,351) $ (536,651)     (545,544)
OPERATING EXPENSES
 Payroll, Healthcare, Rent                      $       25,900                  $        4,500 $        28,750 $         1,950 $          30,444 $          6,200 $         28,750 $         1,950 $    31,682               $   36,750                  196,876
 Operating                                               3,275        166,540              455           1,230           7,001             5,390               70            1,230           1,300       5,390          70        1,230       1,300      194,481
 Accounting                                              2,460          2,460                                            2,460             6,000                                                         2,460                                            15,840
 Licenses, Fees                                          4,095                           4,000                           6,156                                                                  95       7,000                                            21,346
                 TOTAL OPERATING EXPENSES $             35,730 $      169,000 $          8,955 $        29,980 $        17,567 $          41,834 $          6,270 $         29,980 $         3,345 $    46,532 $        70 $     37,980 $     1,300 $    428,543
SCHEDULE OF OTHER EXPENSES
 Thorpe North & Western, LLP (Patent)     $              7,500 $          ‐   $            ‐   $           ‐   $         7,500 $             ‐   $            ‐   $            ‐   $           ‐   $     7,500                                            22,500
 Debtor's Counsel ‐ Dragich Law Firm                     6,000          6,000            6,000           6,000           6,000             6,000            6,000            6,000           6,000       6,000       6,000        6,000       6,000       78,000
 Debtor's Counsel ‐ Ashby & Geddes                       3,000          3,000            3,000           3,000           3,000             3,000            3,000            3,000           3,000       3,000       3,000        3,000       3,000       39,000
 DIP Expenses                                                                                              500                                                                 500                                                  500                    1,500
 Claims/Noticing Agent                                   1,000          1,000            1,000           1,000           1,000             1,000            1,000            1,000           1,000       1,000       1,000        1,000       1,000       13,000
 UST Fees                                                                                                                                                                                                                                                    ‐
                         TOTAL OTHER EXPENSES $         17,500 $       10,000 $         10,000 $        10,500 $        17,500 $          10,000 $         10,000 $         10,500 $        10,000 $    17,500 $    10,000 $     10,500 $    10,000 $    154,000
                               TOTAL EXPENSES $         53,230 $      179,000 $         18,955 $        40,480 $        35,067 $          51,834 $         16,270 $         40,480 $        13,345 $    64,032 $    10,070 $     48,480 $    11,300 $    582,543




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                                                                                                                         FreeLinc Tec Inc 90 Day Cash
